       Case 1:18-cv-11963-PBS Document 113 Filed 04/24/19 Page 1 of 14



                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS


 STERLING SUFFOLK RACECOURSE, LLC,

                       Plaintiff,

 v.                                            CIVIL ACTION
                                               Case No. 1:18-cv-11963-PBS
 WYNN RESORTS, LTD; WYNN MA, LLC;              (Leave to file granted 4.23.19)
 STEPHEN WYNN; KIMMARIE SINATRA;
 MATTHEW MADDOX; PAUL LOHNES; and
 FBT EVERETT REALTY, LLC;

                       Defendants.


               WYNN RESORTS, LTD AND WYNN MA, LLC’S
      REPLY MEMORANDUM IN SUPPORT OF THEIR MOTION TO DISMISS


                                     WYNN RESORTS, LTD and WYNN MA,
                                     LLC

                                     By their counsel,

                                     /s/ Peter A. Biagetti
                                     Peter A. Biagetti, BBO # 042310
                                     Samuel M. Starr, BBO #477353
                                     Mintz, Levin, Cohn, Ferris, Glovsky & Popeo, P.C.
                                     One Financial Center
                                     Boston, MA 02111
                                     Phone: 617.542.6000
                                     Fax: 617.542.2241
                                     PABiagetti@mintz.com
                                     TStarr@mintz.com

                                     Mark Holscher (admitted pro hac vice)
                                     Kirkland & Ellis LLP
                                     333 South Hope Street
                                     Los Angeles, CA 90071
                                     Phone: 213-680-8190
                                     Fax: 213-808-8097
                                     Mark.holscher@kirkland.com
April 24, 2019

                                        1
        Case 1:18-cv-11963-PBS Document 113 Filed 04/24/19 Page 2 of 14



       Wynn Resorts, LTD (“Wynn Resorts”) and Wynn MA, LLC (“Wynn MA”) respectfully

submit this Reply to Sterling Suffolk Racecourse’s (“SSR’s”) Opposition to their Motion to

Dismiss. SSR’s 90 pages of Opposition, like its overhauled Complaint, offers no timely or

cognizable claims of RICO pattern, enterprise, or injury. This Court therefore should dismiss

those and their equally flawed companion state-law claims with prejudice.

       A.      The Statute of Limitations Ran in December 2017, Not on a Sunday in
               September 2018.

       SSR wrongly claims that Wynn Resorts and Wynn MA have argued that the statute of

limitations ran on September 16, 2018—four years after the MGC’s vote to award the Region A

license to Wynn MA, Doc. 98 at 25—and then notes simply that, because September 16, 2018

was a Sunday, Fed. R. Civ. P. 6(a)(1)(C) extended the statute of limitations to Monday

September 17, 2018—the day SSR filed. But that blithe miniaturization of Wynn Resorts and

Wynn MA’s position misses the central argument—that the statute of limitations began to run

when SSR first knew of its injury, in December 2013. SSR does not dispute that the statute of

limitations begins to run when the plaintiff is injured and that injury is knowable. Doc. 76 at 8;

Doc. 98 at 26. Nor does SSR dispute the essential sequence of events on which the Motion to

Dismiss is based. Briefly, the first allegedly fraudulent misrepresentation to the Massachusetts

Gaming Commission (“MGC”) was made on January 15, 2013, when Wynn MA submitted its

Phase-I application. First Amended Complaint (“FAC”) ¶¶ 91, 95. Another allegedly fraudulent

submission occurred in July 2013, when Wynn Resorts and Wynn MA officials testified that

they did not know Lightbody, a convicted felon who had been involved with FBT. FAC ¶ 100.

But, “in July 2013, the Wynn Defendants were known to the Gaming Commission to have

associated with known felons and to have failed to disclose those affiliations.” FAC ¶ 110. The

Boston Globe even carried a story noting that Lightbody had an “interest in the Everett site” on

                                                 2
          Case 1:18-cv-11963-PBS Document 113 Filed 04/24/19 Page 3 of 14



November 21, 2013. FAC ¶ 112. In December 2013, the MGC nevertheless found Wynn MA

and Wynn Resorts suitable, and allowed Wynn MA to proceed to Phase II. Doc. 76-1 at 10. On

September 16, 2014, the MGC held its final vote at Phase II and awarded the Region A license to

Wynn MA. FAC ¶ 139.

         Despite these acknowledgements, SSR still argues that its injury did not occur until the

Region A license was awarded, Doc. 98 at 26, rather than when the alleged fraud was perpetrated

on the MGC. Doc. 76 at 9. In support of its argument, SSR cites only Kripp v. Luton, 466 F.3d

1171, 1178 (10th Cir. 2006), a case which merely stands for the undisputed proposition that the

statute of limitations begins to run when the defendant knew or should have known of his injury.

See Alvarez-Mauras v. Banco Popular of P.R., No. 18-1051, 2019 U.S. App. Lexis 8863, *17

(1st Cir. 2019) (“the RICO statute of limitations begins to run when a plaintiff knew or should

have known of his injury.”) (internal quotations and citations omitted).1/ But on the facts

alleged, that standard does not support—instead it precludes—SSR’s claim that its injury

accrued when the MGC awarded the Region A license to Wynn MA.

         The central wrong that SSR alleges Wynn MA and Wynn Resorts committed was serial

concealment—through mail fraud, wire fraud, and other predicate acts—of facts that would

render Wynn MA not “suitable” and therefore ineligible to continue participating in the MGC’s

application process. FAC ¶¶ 140-148. All of these representations by definition occurred prior

to, and to induce, the MGC’s December 2013 Phase-I suitability determination. Therefore, the

alleged injury to SSR that arose from this inducement was that its tenant, MSM, had to compete



1/
   Similarly, in Takeuchi v. Sakhai, 05 CV 6925, 2006 U.S. Dist. Lexis 1286, *4-*6 (S.D.N.Y. Jan. 17, 2006), the
court held that the statute of limitations began to run after plaintiff received a letter from an expert stating that a
painting the plaintiff bought was a forgery, even though the plaintiff did not believe that it was a forgery at that time,
because the expert’s letter put the plaintiff on inquiry notice of the fraud. The court stated, “In the case of a RICO
claim predicated on fraud, a plaintiff should have discovered his injury when he has received information sufficient
to alert a reasonable person to the probability that he has been misled.” Id. at *6.

                                                            3
          Case 1:18-cv-11963-PBS Document 113 Filed 04/24/19 Page 4 of 14



at Phase II against an “unsuitable” applicant. Because SSR first knew that MSM would have to

compete against “unsuitable” Wynn MA as soon as Wynn MA was found suitable by the

MGC—on December 27, 2013—SSR suffered its only actionable injury more than four years

and eight months prior to September 17, 2018, the date SSR filed this lawsuit.

         SSR’s last-ditch effort to save its untimely pleading from dismissal is a claim that the

alleged fraud continued even after the MGC found Wynn MA and Wynn Resorts suitable, and

even after the MGC awarded the Region A license. Doc. 98 at 27, n.7. But arguments about

when the “last” act of racketeering occurred are irrelevant, because the statute of limitations

begins running with the first predicate act of racketeering, not the last. See Jay E. Hayden

Found. v. First Neighbor Bank, N.A., 610 F.3d 382, 387 (7th Cir. 2010) (RICO plaintiff “should

not be entitled to an automatic extension of the statute of limitations by the length of the period

of concealment by the defendants.”).2/

         B.       Wynn Resorts’ Alleged Wrongful Acts in Macau and Nevada Do Not
                  Transform The Single-Purpose Scheme to Obtain the Region A License into
                  a RICO “Pattern.”

         SSR assures that its amended pleading is “full of well-pleaded factual detail,” Doc. 98 at

88, but in so detailing its alleged “pattern,” that amendment still confirms that every one of the

defendants’ alleged deceptions were “all aimed at unfairly obtaining the Region A casino license

for the Wynn/FBT group[.]” FAC ¶ 172; see also FAC ¶¶ 1, 6, 9, 18, 155, and 161. In its

Opposition, SSR similarly describes this goal as “systemically deciev[ing] the unrecused

members of the MGC about the true facts” before they made their findings on suitability, Doc.

98 at 12, emphasizing that it seeks to recover only revenue it allegedly “would have received . . .



2/
  See Rodriguez v. Banco Cent., 917 F.2d 664, 666-667 (1st Cir. 1990) (rejecting a “last predicate act rule” for
determining when the statute of limitations begins to run); Hodas v. Sherburne, Powers & Needham, P.C., 938
F.Supp. 60, 63 (D.Mass. 1996).

                                                          4
          Case 1:18-cv-11963-PBS Document 113 Filed 04/24/19 Page 5 of 14



had the MGC awarded the License to the MSM/SSR proposal.” Doc. 98 at 84. SSR now argues,

however, that the single “scheme” (singular) set out in its FAC is so “wide-ranging and long-

lasting” that it satisfies RICO’s continuity requirement. The RICO counts themselves, however

and even the cases SSR cites, demonstrate otherwise.3/

         To inflate this admittedly single-purpose scheme into an actionable one, the Opposition

now claims that the FAC’s “pattern” somehow embraces the alleged acts that occurred both

before Wynn MA’s application to the MGC—the alleged misconduct in Macau and Nevada—

and after Wynn MA’s application to the MGC—the allegedly continuing misconduct in Nevada

and cover-up of the fraud on the MGC. Doc. 98 at 79. But on closer inspection, neither the

alleged actions in Macau nor those which occurred in Nevada can constitute predicate acts of

racketeering. Indeed, SSR itself admits elsewhere in its Opposition that the conduct in Macau is

not, and indeed cannot be, a predicate act of racketeering. Doc. 98 at 64 (“The FAC does not

allege that violations of local law in Macau were freestanding RICO predicate acts . . . the Wynn

Defendants’ modus operandi in Macau is highly relevant background and context for their

similar misconduct in Massachusetts.”) (emphasis added). As important, nowhere in its two

RICO claims does SSR ever allege that any of the acts in Macau or Nevada were part of any



3/
          But “a single criminal episode, or event, is not a pattern” even where the “single criminal episode” is
composed of several constituent crimes. Apparel Art Int’l v. Jacobson, 967 F.2d 720, 722 (1st Cir. 1992).
Therefore, even if Wynn MA or Wynn Resorts committed several acts of fraud to secure the gaming license, these
could not constitute a pattern of racketeering activity. As explained in Apparel Art, 967 F.2d at 722, “For example,
a single (interstate) bank robbery . . . consists of several different parts (say, using a gun, threatening a teller,
stealing a getaway car, perhaps abducting the teller as well, and eventually lying about participation). Some of those
separate parts may themselves constitute separate criminal acts or ‘crimes’ (in the technical sense that each,
separately, violates a specific statute). Yet, those several separate criminal parts, taken together, do not generally
make out a ‘pattern.’”
          In World Wrestling Entm’t, Inc. v. Jakks Pac., Inc., 530 F. Supp. 2d 486, 515-517 (S.D.N.Y. 2007), the
court held that there was no open ended continuity because the alleged racketeering activity was all in the service of
obtaining two licenses to be able to sell certain types of merchandise. Id. at 516-517 (“Plaintiff conceded that
Defendants’ goal was to obtain a limited number of licenses, and ‘that’s it.’ . . . This undercuts Plaintiff’s attempt to
plead open-ended continuity, as the courts have rejected attempts at open-ended claims involving a terminable
scheme, such as the one alleged by Plaintiff here.”).

                                                            5
         Case 1:18-cv-11963-PBS Document 113 Filed 04/24/19 Page 6 of 14



alleged pattern of predicate acts of racketeering. FAC ¶¶ 155, 161. Instead, the First Claim

states that the predicate acts of racketeering were only the false representations to the MGC,

FAC ¶ 155, while the Second Claim states only that the “predicate crimes” were the

concealment of the “unsavory activities . . . in Macau,” FAC ¶ 161(c), and the concealment—by

means of interstate travel to procure false documents, testimony, and certifications to the

MGC—of “violations of the Nevada suitability statutes,” FAC ¶ 161(d). Tellingly, the FAC

never alleges as predicates the acts in Nevada and Macau themselves.

        Furthermore, the disparate events alleged in Macau and Nevada could not, as a matter of

law, be part of a cognizable pattern of racketeering activity used to obtain the Region A license

because they are not sufficiently “related” to the purpose, perpetration, or result of that alleged

scheme. The alleged events in Macau are separated from the fraud allegedly perpetrated on the

MGC by thousands of miles, several years,4/ and distinct casts of essential conspirators, just as in

Feinstein, 942 F.2d at 44-45 (“plaintiffs’ RICO claim founders on the bald assertion that these

two episodes, nearly two years apart in time, hundreds of miles apart in space, and involving two

largely distinct groups of participants, were somehow pieces of a unitary scheme”). See FAC ¶¶

41-52. The events in Nevada—primarily Mr. Wynn’s alleged past sexual misconduct—are also

separated from the fraud on the MGC by more than a thousand miles, many years, and again,

very different alleged collaborators and victims. FAC ¶¶ 36-37. Even after Feinstein, which

SSR erroneously cites as evidence of a diminished “relatedness” requirement, courts in the First

Circuit have continued to dismiss RICO claims which allege predicate acts that were not related.

See MyFreeMedicine.com, LLC v. Alpine Investors, 739 F. Supp. 2d 8, 28 (D. Maine 2010)




4/
  SSR claims that Wynn Resorts’ alleged misconduct in Macau began in 2007, FAC ¶ 49, and continued into 2016,
FAC ¶ 50.

                                                      6
        Case 1:18-cv-11963-PBS Document 113 Filed 04/24/19 Page 7 of 14



(predicate acts of racketeering were not related because they had different “participants, victims,

[and] methods”). This Court should do the same here.

       Next, SSR claims that the alleged conduct in Macau and Nevada “previewed their actions

in Massachusetts” and is therefore evidence of Wynn Resorts’ “regular way of doing business.”

Doc. 98 at 21, 69. SSR relies on Shields Enterprises v. First Chicago Corp., 975 F.2d 1290,

1296 (7th Cir. 1992). In Shields, however, the court found that there was a threat of the

racketeering acts continuing on into the future because the plaintiff alleged that “whenever [the

plaintiffs] stood in the way of some goal [the defendant] wanted to accomplish . . ., [the

defendant] turned to extortion to accomplish its goal,” citing three specific examples of

extortion. Id. at 1296. The RICO claim alleged here bears no resemblance to an ongoing

extortion scheme. Here there is no particularized allegation that Wynn Resorts or Wynn MA

have used fraudulent representations to secure a gaming license in any other instance, nor any

well-pleaded indicia of a “modus operandi” that would suggest a threat that the acts of

racketeering—fraudulent misrepresentations toward procuring one license—would inevitably

continue in future venues or projects. SSR therefore cannot set forth the open-ended continuity

necessary to constitute a pattern of racketeering activity.

       Finally, SSR claims that Wynn Resorts and Wynn MA’s fraudulent concealment

automatically continued into the future because, if the MGC had ever found out about any of the

alleged past misdeeds of Wynn MA or Wynn Resorts, it would have taken away Wynn MA’s

gaming license. Doc. 98 at 70 (“they were at risk of losing the License at any moment if their

continuing unsuitability were exposed”). SSR cites only Feinstein for the proposition that a

continuing concealment of fraud is sufficient to demonstrate open-ended continuity, but

Feinstein held only that the plaintiff had failed to allege a pattern of racketeering activity. 942



                                                  7
        Case 1:18-cv-11963-PBS Document 113 Filed 04/24/19 Page 8 of 14



F.2d at 46. SSR’s tortured reading of Feinstein rests on a citation to the court’s mention of a

series of arguments that plaintiff was not making, and which the court therefore never addressed.

Feinstein, 942 F.2d at 46 (“There is no assertion that these communications . . . served to

perpetuate or conceal the fraud.”). Looking beyond this dicta, other courts have directly

addressed the question and held that ongoing concealment of a fraud does not alone create open-

ended continuity sufficient to set forth an actionable pattern. As the Court in Ruby Dev. Corp. v.

Charrim Dev. Corp., 742 F. Supp. 1213, 1217 (E.D.N.Y. 1990) stated, “it is not sufficient to

claim that allegations of concealment on the part of a wrongdoer constitute a basis for

establishing an open-ended scheme or threat of repetition to satisfy the continuity requirement.

Otherwise every past act of wrongdoing which a wrongdoer attempts to conceal might be the

basis for finding continuity.” See Bowdoin Constr. Corp. v. Rhode Island Hosp. Trust Nat’l

Bank, N.A., 869 F. Supp. 1004, 1010-1011 (D.Mass. 1994) (finding no pattern of racketeering

activity where “[a]ll alleged acts revolve around the perpetration and concealment of an

allegedly fraudulent arrangement for the renovation of the Sea Crest hotel.”); see also Giuliano

v. Fulton, 399 F.3d 381, 389 (1st Cir. 2005) (“a proposed or anticipated fraudulent act cannot be

counted as a predicate act in furtherance of a closed-ended racketeering scheme”).

       C.      Both of SSR’s RICO Counts Fail to Allege an “Enterprise” Distinct from the
               Defendant Persons.

       SSR claims that Cedric Kushner Promotions, Ltd. v. King, 533 U.S. 158 (2001) supports

its argument that the “enterprise” alleged in its Second Claim, Wynn MA, is distinct from the

defendant “persons,” Wynn Resorts, Stephen Wynn, Kimmarie Sinatra, and Matthew Maddox.

Doc. 98 at 43. Yet, Kushner simply held that a corporation may constitute an enterprise distinct

from a natural person even if the natural person is the sole shareholder of the corporation. Id. at

160. That Kushner configuration is very different, however, from the one set out in SSR’s

                                                 8
        Case 1:18-cv-11963-PBS Document 113 Filed 04/24/19 Page 9 of 14



Second Claim, in which the alleged “enterprise” is a subsidiary (Wynn MA) and the defendant

“persons” are the parent corporation (Wynn Resorts) and individuals who are officers of both the

parent corporation and the subsidiary corporation (Mr. Wynn, Ms. Sinatra, and Mr. Maddox).

       Instead, SSR’s configuration is far more analogous to the ones rejected in cases like

Discon, Inc. v. NYNEX Corp., 93 F.3d 1055, 1064 (2d Cir. 1996). In Discon, the court held that

a parent corporation was not an enterprise distinct from that corporation’s wholly-owned

subsidiary, particularly where that subsidiary was “acting within the scope of a single corporate

culture, guided by a single corporate consciousness.” Id. at 1064. This dispositive inquiry—

whether the entity alleged as the “person” is part of the same corporate culture and was guided

by the same corporate consciousness as the entity alleged as the “enterprise”—was endorsed in

Kushner and remains good law. Accordingly, in one apt post-Kushner case, U1It4Less, Inc. v.

FedEx Corp., 871 F.3d 199, (2d Cir. 2017), the court found no person/enterprise distinction

because the corporations alleged as “persons” and the corporation alleged as the “enterprise” had

a “unified corporate structure guided by a single corporate consciousness.” Id. at 207.

       On this same rationale, courts consistently have found no person/enterprise distinction

where the “enterprise” is a corporation and the defendant “persons” are officers carrying on the

regular business of that corporation. Riverwoods Chappaqua Corp. v. Marine Midland Bank, 30

F.3d 339 (2d Cir. 1994). Similarly here, because the defendant officers of Wynn Resorts and

Wynn MA are alleged to have operated a wholly-owned subsidiary solely by alleged actions

taken in their official capacities, there can be no person/enterprise distinction as a well-

established matter of pre- and post- Kushner law.

       Further, the Opposition offers nothing to demonstrate how SSR’s First Claim—which

alleges that all of the defendants operated an “association in fact” also consisting of all of the



                                                  9
        Case 1:18-cv-11963-PBS Document 113 Filed 04/24/19 Page 10 of 14



defendants—sets forth a distinct “enterprise.” While citing to cases where there were at least

some differences between the respective groups of “persons” and “enterprise” members, SSR

cites to none which have found requisite distinction in the configuration on which the First

Claim rests—complete identity between the two groups. Doc. 98 at 39-42. Indeed, in Atlas Pile

Driving Co. v. DiCon Fin. Co., 886 F.2d 986, 995 (8th Cir. 1989), a case cited by SSR, the

Eighth Circuit found the requisite person/enterprise distinction only because “the enterprise [an

association-in-fact of five entities] and the person [two of the five entities] are not identical.”

(emphasis added). SSR’s First Claim fatally offers no such distinction.

       Finally, to properly plead an “association-in-fact” such as that proffered in its First

Claim, SSR must allege more than that all of the defendant “persons” came together to conduct

themselves simply to accomplish the predicate acts which brought them together; SSR must

allege “an organizational pattern or system of authority beyond what was necessary to perpetrate

the predicate crimes.” Atlas Pile Driving Co. v. Di Con Financial Co., 886 F.2d 986, 996 (8th

Cir. 1989) (internal quotations and citations omitted); see United States v. Bledsoe, 674 F.2d 647,

664 (8th Cir. 1982) (“under RICO, an enterprise cannot simply be the undertaking of the acts of

racketeering, neither can it be the minimal association which surrounds these acts.”). In its First

Claim, however, SSR has not alleged any association between FBT, Wynn MA, and Wynn

Resorts, beyond the minimal collaboration needed to accomplish the fleeting singular purpose of

allegedly defrauding the MGC. The First Claim therefore fails for lack of this enterprise/acts

distinction as well.

       D.      SSR’s Alleged Injury Was Not Proximately Caused by Wynn Resorts’ or
               Wynn MA’s Alleged Racketeering Acts.

       The Opposition incorrectly states that Wynn Resorts and Wynn MA have argued “no one

other than the defrauded agency [MGC] has a potential claim against the fraudster [Wynn].”

                                                  10
       Case 1:18-cv-11963-PBS Document 113 Filed 04/24/19 Page 11 of 14



Doc. 98 at 27. Wynn Resorts and Wynn MA have not urged any such requirement, Doc. 76 at

19; indeed, they agree with SSR that first-party reliance is not required to show that a

defendant’s fraud proximately caused a plaintiff’s harm. See Bridge v. Phoenix Bond & Indem.

Co., 553 U.S. 639, 657-658 (2008); In re Celexa & Lexapro Marketing & Sales Practices Litig.,

915 F.3d 1, 14 (1st Cir. 2019).

       Rather, Wynn Resorts and Wynn MA have argued that SSR’s alleged injury—its

purported loss of possible rental income—is too attenuated from Wynn MA’s or Wynn Resorts’

wrongful acts of fraud on the MGC to confer standing, whether or not SSR itself relied on any

alleged misrepresentations. Doc. 76 at 19-20. Because SSR’s speculative injury is several

causal steps removed from any alleged fraud on the MGC, SSR has no standing to claim that its

harm was proximately caused by any RICO violation. Doc. 76 at 19-24. And significantly, SSR

has acknowledged the factual bases of Wynn Resorts and Wynn MA’s argument, agreeing that

only MSM was the applicant which lost to Wynn MA, Doc. 98 at 22-23, 33, and that SSR’s

hoped-for revenue as a prospective landlord of MSM would flow only if MSM chose not to take

advantage of several “standard outs” at its disposal under its proposed lease with SSR, Doc. 98 at

34, n.13.

       Still, SSR argues that, no matter how remote its injury may be from the alleged fraud,

where there is a “zero-sum situation where only one License could or would be awarded,” the

losing bidder is directly harmed by the winner’s fraud. Doc. 98 at 29. But the sole case that SSR

relies on to support this “zero-sum” theory of causation—Bridge, 553 U.S. at 657-658—does not

stand for that proposition. The holding of Bridge was that proximate cause does not require first-

party reliance; a point which, as noted, Wynn Resorts and Wynn MA do not contest. 553 U.S. at

657-658.



                                                11
         Case 1:18-cv-11963-PBS Document 113 Filed 04/24/19 Page 12 of 14



         Moreover, the factual allegations of SSR’s case are entirely distinguishable from those in

Bridge. In Bridge, the plaintiff competitor was denied a guaranteed opportunity to purchase the

auctioned liens when the defendant fraudulently obtained more than its statutorily-allotted share

of a finite number of those purchasing opportunities. Id. at 643-644. The Court therefore found

a “sufficiently direct relationship” between the alleged misconduct and injury. Id. at 657. But

there is no such direct causal connection alleged here. First, it bears emphasis that SSR was not

a competing applicant. For that reason alone, the comparison to Bridge is inapt. Second, even

if SSR had been a co-applicant with MSM, SSR makes too many unsupported assumptions in its

claim that it would have been awarded the license if Wynn MA had been found “not suitable.”

As the relevant regulatory scheme provides, even if Wynn MA had been found not suitable at

Phase I, any number of things may have happened: (a) the MGC may have called for more

applicants and may have chosen one of those other applicants, see generally G.L. c. 23K; (b) the

MGC may have decided to award no license at all in Region A, G.L. c. 23K §19(a); or (c) the

MGC may have allowed Wynn MA a chance to correct the issues that had made it unsuitable.

There is of course no way of knowing which of these possibilities would have occurred, and

guessing amidst such uncertainty is precisely what the proximate cause requirement is designed

to preclude.5/




5/
   Other cases that SSR cites while attempting to save its proximate cause argument are similarly distinguishable
from this case. See e.g., In re Neurontin Marketing & Sales Practice Litig., 712 F.3d 21, 37 (1st Cir. 2013) (holding
that Kaiser’s injury was proximately caused by Pfizer’s fraud because Kaiser was “a primary and intended victim.”).
But here, SSR could not have been a primary or intended victim of Wynn’s alleged fraud, because, as SSR admits,
Mohegan Sun was the competing applicant, not SSR. Doc. 98 at 22; Ex. 76-5 at 2, 8.

                                                         12
       Case 1:18-cv-11963-PBS Document 113 Filed 04/24/19 Page 13 of 14



       For the foregoing reasons and those set forth in their Memorandum in Support,

defendants Wynn Resorts and Wynn MA respectfully request that the Court grant their Motion to

Dismiss with prejudice.

Dated: April 24, 2019                              Respectfully Submitted,

                                                   WYNN RESORTS, LTD and WYNN MA,
                                                   LLC

                                                   By their counsel,

                                                   /s/ Peter A. Biagetti
                                                   Peter A. Biagetti, BBO # 042310
                                                   Samuel M. Starr, BBO # 477353
                                                   Mintz, Levin, Cohn, Ferris,
                                                           Glovsky & Popeo, P.C.
                                                   One Financial Center
                                                   Boston, MA 02111
                                                   Phone: 617.542.6000
                                                   Fax: 617.542.2241
                                                   PABiagetti@mintz.com
                                                   TStarr@mintz.com

                                                   Mark Holscher (admitted pro hac vice)
                                                   Kirkland & Ellis LLP
                                                   333 South Hope Street
                                                   Los Angeles, CA 90071
                                                   Phone: 213-680-8190
                                                   Fax: 213-808-8097
                                                   Mark.holscher@kirkland.com




                                              13
       Case 1:18-cv-11963-PBS Document 113 Filed 04/24/19 Page 14 of 14




                                 CERTIFICATE OF SERVICE


        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants and by mail as identified on the Notice of Electronic
Filing on April 24, 2019.

Christine Hanley
Douglas H. Meal
James N. Kramer
Michael Todd Scott
Orrick, Herrington & Sutcliffe LLP
Suite 5600
701 5th Avenue
Seattle, WA 98104
dmeal@orrick.com

Mark Holscher (admitted pro hac vice)
Kirkland & Ellis LLP
333 South Hope Street
Los Angeles, CA 90071
Phone: 213-680-8190
Fax: 213-808-8097
Mark.holscher@kirkland.com




                                      /s/ Peter A. Biagetti
                                      Peter A. Biagetti




                                                 14
